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   FILED & JUDGMENT ENTERED
          Steven T. Salata


            January 10 2023


     Clerk, U.S. Bankruptcy Court
    Western District of North Carolina
                                                                        _____________________________
                                                                                 J. Craig Whitley
                                                                          United States Bankruptcy Judge




                       UNITED STATES BANKRUPTCY COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION

In re:                                                 )
                                                       ) Case No. 23-30013
B GSE GROUP, LLC                                       )
dba Bullerdick GSE, LLC,                               ) Chapter 11, Subchapter V
                                                       )
EIN:                        XX-XXXXXXX                 )
                                                       )
                            Debtor.                    )

   CHAPTER 11 SUBCHAPTER V SMALL BUSINESS OPERATING ORDER

       This Order, although effective immediately upon entry, is subject to written
objection and notice of hearing within 14 days of the date of its entry.

    The above-captioned debtor and debtor in possession (the “Debtor”) is hereby
ORDERED to comply with the following, except as otherwise ordered by the Court:

       A.     Meeting with Bankruptcy Administrator and Subchapter V Trustee: Upon
notice by the Bankruptcy Administrator to the Debtor, the Debtor and Debtor’s counsel
shall meet with the Bankruptcy Administrator, or her designee, and the Subchapter V
Trustee (“Trustee”) to certify compliance with all provisions of this Order. The Debtor
shall supply the Bankruptcy Administrator and/or the Trustee with any documents or
records requested by the Bankruptcy Administrator or Trustee prior to or at the time of
such meeting.

        B.    Inspection of Property and Records: The Debtor shall permit the Trustee
and, upon request, the Bankruptcy Administrator or her designee reasonable inspection
of its business premises, properties, and books and records.
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       C.      Books and Records: Effective as of the date the petition was filed (the
“Petition Date”), the Debtor shall close its prepetition books and records and open a new
postpetition accounting period beginning as of the Petition Date. Regardless of the time
of actual closing and opening, the books and records shall be reconciled as of the Petition
Date. The books and records shall be kept in accordance with generally accepted
accounting principles or other acceptable comprehensive basis of accounting.

       D.     Bank Accounts

              1.     Bank Accounts: The Debtor’s bank accounts shall consist of at least
a general account, a tax account, and, at the Debtor’s election, a payroll account. As
described below, the Debtor may elect to maintain its prepetition bank accounts, subject
to the provisions set forth herein, or open new postpetition bank accounts:

                            a)      Maintenance of Existing Bank Accounts: The Debtor
may maintain one or more of its prepetition bank accounts provided that: (i) the
prepetition account is in good standing; (ii) the Debtor has placed stop payments on all
prepetition checks and transactions not otherwise authorized to be paid by separate order
of this Court, including cancellation of any automatic electronic payments; (iii) the Debtor
does not owe any prepetition debts to its depository bank; and (iv) the Debtor performs a
reconciliation of its bank accounts as of the Petition Date. If unable to meet these
requirements, the Debtor must open new bank accounts.

                           b)     New Bank Accounts: If the Debtor elects or is required
to open new bank accounts, the Debtor must close its prepetition bank accounts and open
its new accounts no later than 7 days after entry of this Order. Regardless of the time of
actual closing and opening, the Debtor’s prepetition bank accounts shall be reconciled as
of the Petition Date.

The Debtor must inform the Bankruptcy Administrator within three (3) days of the
Petition Date whether it has elected to maintain its current bank accounts or open new
bank accounts as described above. All bank signature cards for the Debtor’s accounts,
regardless of whether the Debtor maintains its prepetition accounts or opens new
postpetition accounts, shall clearly indicate that the Debtor is a “Debtor-In-Possession.”
The Debtor is only required to make this designation on the signature cards, not on the
check stock.

              2.     Collateralization of Accounts: The Debtor shall comply with the
provisions of 11 U.S.C. § 345 regarding deposit or investment of money of the estate. The
Debtor or Debtor’s counsel immediately shall inform the Bankruptcy Administrator of
the deposit of any funds of the estate in any bank or other financial institution that are
either not covered by F.D.I.C. insurance or that exceed the insured amount. The
Bankruptcy Administrator shall take appropriate action for the posting of securities or a
bond. The Debtor’s duties described in this subparagraph 2 are continuing and end only
upon entry of an order converting, dismissing, or closing the case.
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             3.     Tax Account, Deposits, and Filing of Tax Returns:

                     a) The Debtor shall segregate in a separate bank account all taxes
withheld from employees and/or monies collected from others for taxes under any law of
the United States or other governmental unit. The Debtor is directed and empowered to
pay from such bank account to the appropriate taxing authorities the amounts for
postpetition taxes at the times and in the manner prescribed by law. The Debtor shall
make timely reports in the manner prescribed by the Internal Revenue Service or other
taxing authorities to the extent such reports are required by law. Evidence of payment of
taxes and/or deposit of monies for tax payments shall be provided to the Bankruptcy
Administrator and Trustee upon request.

                     b) The Debtor shall file tax returns that were delinquent as of the
Petition Date, if any, within 90 days of entry of this Order unless otherwise provided by
law or order of the Court. The Debtor shall file all postpetition tax returns and pay all
postpetition taxes when due. The Debtor shall provide the Bankruptcy Administrator
and Trustee copies of its tax returns through the duration of this chapter 11 case at the
time such returns are filed.

       E.     Proof of Insurance: The Debtor shall maintain adequate insurance,
including, as applicable, workers’ compensation, general liability, property, fire, theft,
and motor vehicle insurance, as well as such other insurance coverage normally and
customarily used in the Debtor’s business. The Debtor shall pay all postpetition
premiums when due. Within 10 days of the Petition Date, the Debtor shall provide the
Bankruptcy Administrator’s Office and Trustee proof of insurance coverage on all
property of the estate, and the Debtor shall submit copies of complete policies within 30
days of the Petition Date. If notice of cancellation or of non-renewal is given on any such
insurance policy before its expiration date, the Debtor shall notify the Bankruptcy
Administrator and Trustee of the impending cancellation or non-renewal, by telephonic
notice within 48 hours, and in writing within 5 days, of the Debtor’s first receipt of such
notice. The Debtor shall provide the Bankruptcy Administrator’s Office and Trustee with
evidence of renewal of insurance policies prior to the expiration dates throughout the
duration of the chapter 11 case, and the Debtor shall provide complete copies of such
policies within 10 days of the Debtor’s receipt of same.

       F.      Use of Estate Property: The Debtor shall not transfer, sell, hypothecate,
mortgage, pledge or encumber, or otherwise dispose of any property of the estate, other
than in the ordinary course of business, without prior order of the Court. Except as
permitted by 11 U.S.C. § 363 in the ordinary course of business, the Debtor shall not use
estate property to pay prepetition debts, including claims of secured creditors and
landlords, without prior order of the Court. To the extent that a secured creditor has a
lien on cash or its equivalent in the Debtor’s possession, the Debtor shall not use cash
collateral as defined by 11 U.S.C. § 363 unless each entity that has an interest in such
cash collateral consents or the Court, after notice and hearing, authorizes such use, sale,
or lease in accordance with the provisions of 11 U.S.C. § 363.
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      G.     Compensation and Compensation Plans: During the pendency of this
chapter 11 case, the Debtor shall not increase employee compensation or modify plans of
compensation without prior Order of this Court, after notice and hearing. Compensation
and plans of compensation shall include, but shall not be limited to, salaries, hourly
wages, benefits, commission structure, bonuses, deferred compensation plans, or other
forms of compensation.

       H.     Small Business Monthly Status Reports: Pursuant to 11 U.S.C. §§ 1106 and
1107 and Rule 2015 of the Federal Rules of Bankruptcy Procedure, the Debtor shall
prepare and file with the Court monthly written reports on the status of this chapter 11
case (each, a “Monthly Status Report”) in the form provided by the Bankruptcy
Administrator. The first Monthly Status Report shall include the period between the
Petition Date and the last date of that calendar month, unless such period is less than
15 days, in which case it may be included with the subsequent month. All subsequent
reports shall be for the full calendar month. Each Monthly Status Report shall be filed
within 21 days after the end of the applicable calendar month. The opening balances in
the initial Monthly Status Report shall reflect the Debtor’s financial condition as of the
Petition Date. The Monthly Status Report must be dated and signed by the Debtor.

      I.    Compliance with Law: The operation of the Debtor’s business shall comply
with the Bankruptcy Code, the Federal Rules of Bankruptcy Procedure, and the Local
Bankruptcy Rules of Practice and Procedure of the United States Bankruptcy Court for
the Western District of North Carolina.

      Failure to comply with this Order may result in the dismissal of this case, its
conversion to Chapter 7, or other appropriate action by the Court.



This Order has been signed electronically.               United States Bankruptcy Court
The Judge’s signature and Court’s seal appear
at the top of the Order.




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